The Honorable Claire C. McCaskill Missouri State Auditor 224 State Capitol Building Jefferson City, MO 65101
Dear Auditor McCaskill:
By letter dated March 22, 2002, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning the initiative petition related to Motor-Fuel Transportation Fund taxes (version 2).  The fiscal note summary which you submitted is as follows:
    An additional $.03 to $.11 per gallon motor fuel tax and a 3/4 of 1% sales/use tax on tangible personal property for highway and transportation purposes, generates total annual tax revenues of approximately:
Through 2008        2009-2012
State          $612,354,000        $789,609,000
Local          $29,646,000         $86,391,000
  and state costs of approximately $19,260,000 to $26,280,000.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                              JEREMIAH W. (JAY) NIXON Attorney General